                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et                   §
al.,                                             §
             Plaintiffs                          §                SA-21-CV-00844-XR
                                                 §
-vs-                                             §
                                                 §
GREGORY W. ABBOTT, et al.,                       §
            Defendants                           §

                                             ORDER

       On this date, the Court considered the LULAC Plaintiffs’ motion to compel. ECF No.

391. Plaintiffs ask the Court to compel the production of subpoenaed documents from Texas

Representatives Briscoe Cain and Andrew Murr and Texas Senators Paul Bettencourt and Bryan

Hughes (collectively, the “State Legislators”). Id.

       Counsel for the State Legislators is hereby ORDERED to file a response to Plaintiffs’

motion no later than May 9, 2022. Any reply must be filed no later than May 11, 2022. The

Court SETS a hearing on this motion for Friday, May 13, 2022, at 3:30 p.m. The Courtroom

Deputy will inform the parties of the means by which the hearing will be conducted.

       It is so ORDERED.

       SIGNED this 4th day of May, 2022.




                                      XAVIER RODRIGUEZ
                                      UNITED STATES DISTRICT JUDGE
